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  Nos. 22-11133-GG, 22-11143-GG, 22-11144-GG, 22-11145-GG (consolidated)
                    UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT
                LEAGUE OF WOMEN VOTERS OF FLORIDA, INC., et al.,
                                                   Plaintiffs-Appellees,
                                              v.
                         FLORIDA SECRETARY OF STATE, et al.,
                                                   Defendants-Appellants.


      Appeal from the U.S. District Court for the Northern District of Florida,
       Nos. 4:21-cv-242, 4:21-cv-186, 4:21-cv-187, 4:21-cv-201 (Walker, C.J.)
APPELLANTS’ INITIAL BRIEF FOR SECRETARY BYRD, ATTORNEY
   GENERAL MOODY, AND SUPERVISORS HAYS AND DOYLE

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 No. 22-11144, Fla. State Conf. of Branches & Youth Units of NAACP v. Fla. Sec’y of State
                No. 22-11145, Fla. Rising Together v. Fla. Sec’y of State

             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Per Rule 26.1 and Circuit Rule 26.1, Appellants certify that the following have

an interest in the outcome of this appeal:

1.    Adkins, Janet, Defendant
2.    Abudu, Nancy, Attorney for Plaintiffs-Appellees
3.    Advancement Project National Office, Attorneys for Plaintiffs-Appellees
4.    Aguilera, Cecilia, Attorney for Plaintiffs-Appellees
5.    Alachua County Attorney’s Office, Attorneys for Defendant
6.    Andersen, Mark, Defendant
7.    Anderson, Christopher, Defendant
8.    Anderson, Shirley, Defendant
9.    Anstaett, David, Attorney for Plaintiffs-Appellees
10.   Arnold & Porter, LLP, Attorneys for Plaintiffs-Appellees
11.   Arnold, Melissa, Defendant
12.   Arrington, Mary, Defendant
13.   Baird, Maureen, Defendant
14.   Baker McKenzie, LLP, Attorney for Plaintiffs-Appellees
15.   Bardos, Andy, Attorney for Defendants
16.   Barton, Kim, Defendant
17.   Beasley, Bobby, Defendant
18.   Beato, Michael, Attorney for Defendant-Appellant
19.   Begakis, Steven, Attorney for Intervenor-Defendants-Appellants
20.   Bell, Daniel, Chief Deputy Solicitor General of Florida
21.   Benda, Kyle, Attorney for Defendant

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                No. 22-11145, Fla. Rising Together v. Fla. Sec’y of State
22. Bennett, Michael, Defendant
23.   Bentley and Bruning PA, Attorney for Defendant
24.   Bentley, Morgan, Attorney for Defendant
25.   Bernstein, Daniel, Attorney for Plaintiffs-Appellees
26.   Bishop, Marty, Defendant
27.   Black Voters Matter Fund LLC, Plaintiff-Appellee
28.   Bledsoe, William, Attorney for Defendant
29.   Branch, Aria, Attorney for Plaintiffs-Appellees
30.   Brewton Plante PA, Attorneys for Defendants
31.   Brigham, Robert, Plaintiff-Appellee
32.   Brodeen, Karen, Attorney for Defendants-Appellants
33.   Broward County Attorney's Office, Attorney for Defendant
34.   Brown, Summer, Attorney for Defendant
35.   Brown, Tomi, Defendant
36.   Budhu, Ryan, Attorney for Plaintiffs-Appellees
37.   Byrd, Cord, Defendant-Appellant
38.   Cannon, Starlet, Defendant
39.   Case, Andrew, Attorney for Plaintiffs-Appellees
40.   Cavataro, Benjamin, Attorney for Plaintiffs-Appellees
41.   Chambless, Chris, Defendant
42.   Chappell, William, Attorney for Defendant-Appellant
43.   Chason, Sharon, Defendant
44.   Choi, Ellen, Attorney for Plaintiffs-Appellees
45.   Chorba, William, Attorney for Defendant-Appellant
46.   City of Jacksonville, Office of General Counsel, Attorneys for Defendant
47.   Clark Partington, Attorneys for Defendant

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48. Common Cause, Plaintiff-Appellee
49.   Consovoy McCarthy PLLC, Attorneys for Intervenor-Defendants-Appellants
50.   Conyers, Grant, Defendant
51.   Corley, Brian, Defendant
52.   County of Volusia, Attorneys for Defendant
53.   Covington & Burling LLP, Attorneys for Plaintiffs-Appellees
54.   Cowles, Bill, Defendant
55.   Cuffe, Edward, Attorney for Defendant
56.   Cycon, John, Attorney for Defendant-Appellant
57.   Daines, Kenneth, Attorney for Defendant-Appellant
58.   Dandeneau, Debra, Attorney for Plaintiffs-Appellees
59.   Darrow Everett LLP, Attorneys for Plaintiffs-Appellees
60.   Davis, Ashley, Attorney for Defendant-Appellant
61.   Davis, Vicki, Defendant
62.   De Paul, Romane, Attorney for Plaintiffs-Appellees
63.   Demos, Attorneys for Plaintiffs-Appellees
64.   Devaney, William, Attorney for Plaintiffs-Appellees
65.   Disability Rights Florida, Plaintiff-Appellee
66.   Doyle, Tommy, Defendant-Appellant
67.   Driggers, Heath, Defendant
68.   Duke, P. Benjamin, Attorney for Plaintiffs-Appellees
69.   Dukkipati, Uttara, Attorney for Plaintiffs-Appellees
70.   Dunaway, Carol, Defendant
71.   Earley, Mark, Defendant
72.   Edwards, Brendalyn, Attorney for Defendant
73.   Edwards, Jennifer, Defendant

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74. Edwards, Lori, Defendant
75.   Elias Law Group, Attorneys for Plaintiffs-Appellees
76.   Elias, Marc, Attorney for Plaintiffs-Appellees
77.   Ellis, Elizabeth, Attorney for Defendant
78.   Equal Ground Education Fund, Plaintiff-Appellee
79.   Erdelyi, Susan, Attorney for Defendants
80.   Escambia County Attorney's Office, Attorneys for Defendant
81.   Fair Elections Center, Attorneys for Plaintiffs-Appellees
82.   Fajana, Francisca, Attorney for Plaintiffs-Appellees
83.   Fajana, Morenike, Attorney for Plaintiffs-Appellees
84.   Farnam, Alteris, Defendant
85.   Faruqui, Bilal, Attorney for Defendants-Appellants
86.   Feiser, Craig, Attorney for Defendant
87.   Ferenc, Samuel, Attorney for Plaintiffs-Appellees
88.   Fletcher, Michael, Attorney for Plaintiffs-Appellees
89.   Florida Alliance for Retired Americans Inc., Plaintiff-Appellee
90.   Florida Department of State, Attorneys for Defendant-Appellant
91.   Florida Office of the Attorney General, Attorneys for Defendants-Appellants
92.   Florida Rising Together, Plaintiff-Appellee
93.   Florida State Conference of the NAACP, Plaintiff-Appellee
94.   Ford, Christina, Attorney for Plaintiffs-Appellees
95.   Fouhey, Elizabeth, Attorney for Plaintiffs-Appellees
96.   Fox, David, Attorney for Plaintiffs-Appellees
97.   Fram, Robert, Attorney for Plaintiffs-Appellees
98.   Freedman, John, Attorney for Plaintiffs-Appellees
99.   Frost, Elisabeth, Attorney for Plaintiffs-Appellees

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100. Galbraith, Miles, Attorney for Plaintiffs-Appellees
101. Galindo, Emily, Attorney for Plaintiffs-Appellees
102. Gardner Bist Bowden et al, Attorneys for Defendants
103. Genberg, Jack, Attorney for Plaintiffs-Appellees
104. Giannini, Mary, Attorney for Defendant
105. Gibson, Benjamin, Attorney for Intervenor-Defendants-Appellants
106. Gibson, Francesca, Attorney for Plaintiffs-Appellees
107. Gordon, Phillip, Attorney for Defendant-Appellant
108. Gray Robinson PA, Attorneys for Defendant
109. Green, Tyler, Attorney for Intervenor-Defendants-Appellants
110. Griffin, Joyce, Defendant
111. Grimm, Dillon, Attorney for Plaintiffs-Appellees
112. Hanlon, John, Defendant
113. Harriett Tubman Freedom Fighters Corp., Plaintiff-Appellee
114. Hart, Travis, Defendant
115. Hays, Alan, Defendant-Appellant
116. Healy, Karen, Highlands County Supervisor of Elections
117. Heard, Bradley, Attorney for Plaintiffs-Appellees
118. Henderson Franklin Starnes etc., Attorneys for Defendants
119. Hernando County Attorney’s Office, Attorneys for Defendant
120. Herron, Mark, Attorney for Defendant
121. Hillsborough County Office of the County Attorney, Attorneys for Defendant
122. Hirschel, Andrew, Attorney for Plaintiffs-Appellees
123. Hispanic Federation, Plaintiff-Appellee
124. Hogan, Mike, Defendant
125. Holt, Dallin, Attorney for Defendant-Appellant

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126. Holtzman Vogel Baran, et al., Attorneys for Defendants-Appellants
127. Hoots, Brenda, Defendant
128. Houlihan, Ashley, Attorney for Defendant
129. Hutto, Laura, Defendant
130. Janousek, John, Attorney for Defendants
131. Jarone, Joseph, Attorney for Defendant
132. Jazil, Mohammad, Attorney for Defendant-Appellant
133. Johnson, Diana, Attorney for Defendant
134. Johnson, Kia, Attorney for Defendant
135. Jones, Tammy, Defendant
136. Jouben, Jon, Attorney for Defendant
137. Joyner, Nia, Attorney for Plaintiffs-Appellees
138. Kahn, Jared, Attorney for Defendant
139. Kanter Cohen, Michelle, Attorney for Plaintiffs-Appellees
140. Karpatkin, Jeremy, Attorney for Plaintiffs-Appellees
141. Keen, William, Defendant
142. Khan, Sabrina, Attorney for Plaintiffs-Appellees
143. Khazem, Jad, Attorney for Plaintiffs-Appellees
144. King Blackwell Zehnder, etc PA, Attorneys for Plaintiffs-Appellees
145. King, Nellie, Attorney for Plaintiffs-Appellees
146. Kinsey, Jennifer, Defendant
147. Kirk, Stephen, Plaintiff-Appellee
148. Klitsberg, Nathaniel, Attorney for Defendant
149. Knight, Shirley, Defendant
150. Labasky, Ronald, Attorney for Defendants
151. Latimer, Craig, Defendant

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152. Latino Justice PRLDEF, Attorneys for Plaintiffs-Appellees
153. Lavia, John, Attorney for Defendants
154. Law Offices of Nellie King PA, Attorneys for Plaintiffs-Appellees
155. League of Women Voters of Florida Education Fund Inc., Plaintiff-Appellee
156. League of Women Voters of Florida, Plaintiff-Appellee
157. Lenhart, Kaiti, Defendant
158. Lewis, Lisa, Defendant
159. Link, Wendy, Defendant
160. Lopez, Janine, Attorney for Plaintiffs-Appellees
161. Lux, Paul, Defendant
162. Madduri, Lalitha, Attorney for Plaintiffs-Appellees
163. Madison, Alan, Plaintiff-Appellee
164. Marcus, Julie, Defendant
165. Mari, Frank, Attorney for Defendants
166. Marks Gray PA, Attorneys for Defendant
167. McNeil, Justin, Jefferson County Supervisor of Elections
168. McVay, Bradley, Attorney for Defendant-Appellant
169. Meadows, Therisa, Defendant
170. Meros, George, Attorney for Intervenor-Defendants-Appellants
171. Messer Caparello & Self PA, Attorneys for Defendant
172. Miami-Dade County Attorney’s Office, Attorneys for Defendant
173. Miller, Jeffrey, Attorney for Plaintiff-Appellees
174. Milton, Chris, Defendant
175. Mood, Kirsten, Attorney for Defendant
176. Moody, Ashley, Defendant-Appellant
177. Moore, James, Attorney for Defendants

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178. Morgan, Joseph, Defendant
179. Morris, John, Attorney for Plaintiffs-Appellees
180. NAACP Legal Defense & Education Fund, Inc., Attorneys for Plaintiffs-Appellees
181. Nabors Giblin, & Nickerson PA, Attorneys for Defendant
182. Nasseri, Cyrus, Attorney for Plaintiffs-Appellees
183. National Center for Law and Economic Justice, Attorneys for Plaintiffs-Appellees
184. National Republican Senatorial Committee, Intervenor-Defendant-Appellant
185. Negley, Mark, Defendant
186. Nordby, Daniel, Attorney for Intervenor-Defendants-Appellants
187. Norris, Cameron, Attorney for Intervenor-Defendants-Appellants
188. Nunnally, Amber, Attorney for Intervenor-Defendants-Appellants
189. Oakes, Vicky, Defendant
190. O'Brien, Colleen, Attorney for Defendant-Appellant
191. O'Bryant, Patrick, Attorney for Defendant
192. O‘Callaghan, Brendan, Attorney for Plaintiffs-Appellees
193. Ogg, Penny, Defendant
194. Olivo, Geraldo, Attorney for Defendants
195. Osborne, Deborah, Defendant
196. Ott, London, Attorney for Defendant
197. Overturf, Charles, Defendant
198. Palm Beach County Supervisor of Elections, Attorneys for Defendant
199. Paralyzed Veterans of America Central Florida Chapter, Plaintiff-Appellee
200. Paralyzed Veterans of America Florida Chapter, Plaintiff-Appellee
201. Perkins Coie LLP, Attorneys for Plaintiffs-Appellees
202. Perko, Gary, Attorney for Defendant-Appellant
203. Pinellas County Attorney’s Office, Attorneys for Defendant

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204. Poder Latinx, Plaintiff-Appellee
205. Poliak, Shira, Attorney for Plaintiffs-Appellees
206. Price, Tara, Attorney for Intervenor-Defendant-Appellants
207. Republican National Committee, Intervenor-Defendant-Appellant
208. Riley, Heathers, Defendant
209. Rogers, Susan, Plaintiff-Appellee
210. Romero-Craft, Kira, Attorney for Plaintiffs-Appellees
211. Roper PA, Attorneys for Defendants
212. Rosenthal, Oren, Attorney for Defendant
213. Rudd, Carol, Defendant
214. Salzillo, Benjamin, Attorney for Defendant
215. Sanchez, Connie, Defendant
216. Scoon, Cecile, Plaintiff-Appellee
217. Scott, Dale, Attorney for Defendant
218. Scott, Joe, Defendant,
219. Scott, Lori, Defendant
220. Scott, Sharion, Attorney for Plaintiffs-Appellees
221. Segarra, Esperanza, Attorney for Plaintiffs-Appellees
222. Seyfang, Amanda, Defendant
223. Shannin Law Firm PA, Attorneys for Defendants
224. Shannin, Nicholas, Attorney for Defendant
225. Shapiro, Daniel, Attorney for Intervenor-Defendants-Appellants
226. Shapiro, Peter, Attorney for Plaintiffs-Appellees
227. Shaud, Matthew, Attorney for Defendant
228. Shearman, Robert, Attorney for Defendants
229. Sherman, Jonathan, Attorney for Plaintiffs-Appellees

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230. Shutts & Bowen LLP, Attorneys for Intervenor-Defendants-Appellants
231. Siegel, Rachel, Attorney for Defendant-Appellant
232. Sivalingam, Danielle, Attorney for Plaintiffs-Appellees
233. Smith, Diane, Defendant
234. Southerland, Dana, Defendant
235. Southern Poverty Law Center, Attorneys for Plaintiffs-Appellees
236. Stafford, David, Defendant
237. Stafford, William, Attorney for Defendants-Appellants
238. Stamoulis, Paula, Defendant
239. Stewart, Gregory, Attorney for Defendant
240. Stiefel, Aaron, Attorney for Plaintiffs-Appellees
241. Swain, Robert, Attorney for Defendant
242. Swan, Leslie, Defendant
243. Tarpley, Carlton, Attorney for Plaintiffs-Appellees
244. Theodore, Elisabeth, Attorney for Plaintiffs-Appellees
245. Todd, Stephen, Attorney for Defendant
246. Trigg, Amia, Attorney for Plaintiffs-Appellees
247. Tuetken, Adam, Attorney for Amicus
248. Turner, Ron, Defendant
249. UnidosUS, Plaintiff-Appellee
250. Valdes, Michael, Attorney for Defendant
251. Vicari, Kelly, Attorney for Defendant
252. Vigil, Angela, Attorney for Plaintiffs-Appellees
253. Villane, Tappie, Defendant
254. Volusia County Attorney, Attorneys for Defendant
255. Walker, Gertrude, Defendant

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256. Walker, Mark, District Court Judge
257. Washington, D.C., Office of the Attorney General, Attorneys for Amicus
258. Wermuth, Frederick, Attorney for Plaintiffs-Appellees
259. Whitaker, Henry C., Solicitor General of Florida
260. White, Christina, Defendant
261. Wilcox, Wesley, Defendant
262. Wright, Brenda, Attorney for Plaintiffs-Appellees
263. Zacherl, Frank, Attorney for Intervenor-Defendants-Appellants
264. Zender, Thomas, Attorney for Plaintiffs-Appellees



 Dated: July 11, 2022
  /s/ Mohammad O. Jazil                        /s/ Henry C. Whitaker
 Counsel for Secretary Byrd                   Counsel for Attorney General Moody

  /s/ Andy Bardos
 Counsel for Supervisors Hays and Doyle




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               STATEMENT REGARDING ORAL ARGUMENT

      This appeal concerns important constitutional questions. This Court must ad-

dress when a State’s facially neutral election laws have a discriminatory effect and invid-

ious purpose in violation of the Fourteenth and Fifteenth Amendments to the U.S.

Constitution, and when those laws violate section 2 of the Voting Rights Act. This

Court must also consider the First and Fourteenth Amendments’ limitations on the

State’s right to maintain a safe space around polling places. And this Court must decide

when, if ever, a district court can mandate a sovereign State to submit its election laws

to a federal court for approval before those laws can take effect. Appellants submit that

this Court would benefit from oral argument on these important constitutional and

federal statutory questions.




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                 STATEMENT REGARDING ADOPTION OF
                      BRIEFS OF OTHER PARTIES

      The Secretary joins the Brief of the Intervenor-Defendant-Appellants Republi-

can National Committee and National Republican Senatorial Committee in full. The

Supervisors join that brief on the Solicitation Provision issue. The Attorney General

joins that brief on the Munsingwear vacatur issue.




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                                   INTRODUCTION

       “Our founding charter never contemplated that federal courts would dictate the

manner of conducting elections.” Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1269 (11th

Cir. 2020). Yet the district court’s order subjects the entire State of Florida to preclear-

ance—something that, even before Shelby County, the Voting Rights Act didn’t do. See

Jurisdictions Previously Covered by Section 5, DOJ, bit.ly/3Obni3o (VRA covered only five

Florida counties). Why? Because Chief Judge Walker decided that a handful of the

thirty-two sections in Senate Bill 90 had a disparate impact on black Floridians in a

select few counties and the bill simply had to be intended to discriminate against them.

The district court got it wrong.

       Facially neutral laws regulating drop boxes for vote-by-mail ballots, the return of

voter registration forms, and activity at or near a polling place fall squarely within the

State’s power to manage “[t]he Time, Places and Manner of holding Elections.” U.S.

Const. art. I, § 4. In concluding otherwise, the district court focused on the distant past

and disparities rooted in evidence that was “limited,” “unclear,” “not necessarily repre-

sentative,” and “not statistically significant.” Op.97-98, 100-12.1 It conflated partisan-

ship with race. It disregarded the legislative presumption of good faith and the


       1
          All “Doc.” citations refer to the docket entries for League of Women Voters of
Florida, Inc. v. Byrd, No. 4:21-cv-186-MW-MAF (N.D. Fla.). All “Op.” citations refer to
the district court’s final order, Doc. 665. Exhibits entered into evidence begin with
“Exh.” References to the trial transcript begin with “Tr.” Note, however, that some
exhibits include transcripts from the legislative proceedings related to SB90; these ex-
hibits begin with an ‘Exh.”and include a “Tr.”
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principles of equal sovereignty. And it ultimately “usurp[ed] the authority of state legis-

latures to regulate elections” for the next decade. Jacobson, 974 F.3d at 1269.

       The district court’s decision can’t bear the weight of precedent—Brnovich and

Greater Birmingham, Feeney and Shelby County. Nor can its factual findings find support in

this record. The State of Florida asks this Court to reverse.

                        JURISDICTIONAL STATEMENT

       The district court had jurisdiction under 28 U.S.C. § 1331. This Court has juris-

diction to review the district court’s final order and judgment under 28 U.S.C. § 1291.

That final order and judgment disposed of all claims on March 31, 2022. Timely notices

of appeal were filed in all consolidated cases on April 7, 2022.

       A note about Article III standing: There are five individual Plaintiffs and fifteen

organizational Plaintiffs in these four consolidated cases. Plaintiffs seemingly proceed

under the assumption that quantity has a quality all its own. But each Plaintiff group

must establish that at least one person or entity within its group has standing to pursue

claims against each of the challenged provisions in its case. See Davis v. FEC, 554 U.S.

724, 734 (2008). Relying on the standing of parties in the other consolidated cases isn’t

enough. See Butler v. Dexter, 425 U.S. 262, 267 n.12 (1976). Presumably, each answer

brief will address each group’s standing to sue over each of the challenged provisions;

it’s neither this Court’s job nor the State’s job to connect the dots for Plaintiffs because

“[t]he party invoking federal jurisdiction bears the burden” from inception to the con-

clusion of the case. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). For example, it’s
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for the Florida Rising Plaintiffs to explain why Poder Latinx—which is a fiscally-spon-

sored project of Tides Advocacy, and not a legal entity itself—can even file a lawsuit.

See Tr.225:14-226:18.

                          STATEMENT OF THE ISSUES

       Plaintiffs challenged a few of the thirty-two provisions of Senate Bill 90

(“SB90”). Relevant here are (1) the provision regulating the use of drop boxes for col-

lecting vote-by-mail ballots (the “Drop-Box Provision”), Fla. Stat. § 101.69(2)-(3); (2)

the provision requiring third-party voter registration organizations to deliver voter-reg-

istration applications to the county where an applicant resides within a certain period

of time (the “Registration-Delivery Provision”), and specifying the information that

the third parties must provide to registrants (the “Registration-Disclaimer Provi-

sion”), id. § 97.0575(3)(a); and (3) the provision prohibiting the solicitation of voters

within 150 feet of a polling place (the “Solicitation Provision”), id. § 102.031(4)(a)-(b).

This Court must decide:

       1.     Whether the district court erred when it held that the State of Florida in-

tentionally discriminated against black voters through the Drop-Box Provision, Regis-

tration-Delivery Provision, and the Solicitation Provision.

       2.     Whether the district court erred by subjecting the State of Florida to pre-

clearance under section 3(c) of the VRA in light of Shelby County’s exceptional-condi-

tions test and the record in this case and the record in this case.



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       3.     Whether the district court erred in concluding that the Solicitation Provi-

sion is unconstitutionally vague and overbroad.

       4.     Whether this Court should vacate the district court’s judgment concerning

the Registration-Disclaimer Provision that, all Parties agree, is now moot.

                           STATEMENT OF THE CASE

       I.     Factual Background

              A.     Florida Makes It Easy to Register and Vote.

       This case concerns Florida’s system for registering voters and the State’s meth-

ods for voting. It’s easy to both register and vote in Florida.

       Eligible Floridians can register online, in English or Spanish, using the following

website: registertovoteflorida.gov. Fla. Stat. § 97.0525. They can also register using a

paper application available through the Department of State, their local Supervisor of

Elections, their local tax collector, their local libraries and schools, third-party voter-

registration organizations, and even their neighborhood Walmart. Id. §§ 97.052(1)(b),

97.052(5), 97.053, 97.057, 97.0575, 97.058, 97.0583, 97.05831.

       Floridians can cast their ballots in any one of three ways. They can vote in person

on election day at their designated precinct—the only method available for most of our

nation’s history. See Brnovich v. DNC, 141 S. Ct. 2321, 2339 (2021). They can vote by

mail for more than thirty days before an election, returning completed ballots through

the US Mail, commercial carriers like FedEx and UPS, their chosen designees, or a drop

box. See Fla. Stat. § 101.62(1), (4)(b). Voters need no excuse, witness, or notary to vote
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by mail. And Floridians can vote early for eight to fourteen days at any early voting site

within their county. Id. § 101.657(1)(b), (d) (mandating that sites remain open for a min-

imum of eight days and allowing sites to remain open for up to fourteen days for a

minimum of eight hours a day and for up to twelve hours a day).

      Voting wasn’t always so easy. In 1982, the last time Congress amended the VRA,

there was no early voting in Florida. Voting by mail wasn’t generally available either;

only those who qualified for a few, narrow excuses could vote without travelling to the

polls. See id. § 101.64 (1982) (allowing absentee voting for those (1) unable to vote

“without another’s assistance,” (2) traveling, (3) serving as poll workers, (4) with reli-

gious commitments, (5) who changed their residence after the close of the voter regis-

tration deadline, and (6) who moved to another state after the close of registration).

      Much has changed since 1982. The Florida Legislature made no-excuse early vot-

ing available statewide in 2004. See Laws of Fla., Chpt. 2004-252, § 13. And over the

years, the Legislature has amended its early voting provision to add possible locations,

adjust hours, and ensure adequate parking. See Laws of Fla., Chpt. 2019-162, § 10; Laws

of Fla., Chpt. 2013-57, § 13; Laws of Fla., Chpt. 2011-40, § 39. In 1996, the Legislature

also did away with the requirement that vote-by-mail ballots be notarized and include

an attestation that the voter met one of the statutorily recognized excuses; that same

year, the Legislature reduced the number of witnesses needed to vote-by-mail from two

to one. See Laws of Fla., Chpt. 1996-57, § 4. In 2001, Florida eliminated the excuse and

witness requirements altogether. See Laws of Fla., Chpt. 2001-40, § 53. See Laws of Fla.,
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Chpt. 2004-232, § 1. And, in 2019, the State mandated that Supervisors of Elections in

each of Florida’s sixty-seven counties make drop boxes available for voters to return

their vote-by-mail ballots. See Laws of Fla., Chpt. 2019-162, § 20.

       Yet the 2020 elections still presented new challenges. Administered during a

global pandemic, 2020 saw an unprecedented surge voting by mail. See Op.66. Before

the election, a record number of lawsuits were filed across the country, charging States

that enforced their written laws with “disenfranchise[ment].” E.g., New Ga. Project v.

Raffensperger, 976 F.3d 1278, 1282 (11th Cir. 2020); Nielsen v. DeSantis, 469 F. Supp. 3d

1261, 1264 (N.D. Fla. 2020) (discussing consolidated proceedings). The few that suc-

ceeded, and the many that failed, collectively took a toll on voter confidence. See Repub-

lican Party of Penn. v. Degraffenreid, 141 S. Ct. 732, 735, 737 (2021) (Thomas, J., dissental);

DNC v. Wis. State Leg., 141 S. Ct. 28, 31 (2020) (Kavanaugh, J., concurral); Tr.3101.

       In response to the 2020 elections, many States reformed their election laws. De-

spite overheated rhetoric from some opponents, these States were reacting to a once-

in-a-generation election cycle and operating out of a shared desire to restore voter con-

fidence, articulate clear rules, and preserve election integrity. See generally Brnovich, 141 S.

Ct. at 2348 (“Fraud is a real risk that accompanies mail-in voting.”).

              B.      Florida Enacts SB90 with Input from All Stakeholders.

       Florida was no different. The State enacted and the Governor signed into law

SB90. This bill’s thirty-two substantive sections addressed everything from load and

stress testing of the State’s online voter registration system, see Laws of Fla., Chpt. 2021-
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11, § 4, to vote-by-mail reforms, id. §§ 6 and 25, to the adoption of a uniform set of

rules for drop boxes used statewide for the first time in 2020. Id. § 28.

      These reforms were the product of robust debate during the legislative process.

The Florida Legislature spent over twenty-six hours during its sixty-day session listening

to stakeholders in public meetings and otherwise debating the bill. See Doc.648-1 (show-

ing legislative stops and time spent). Legislators also heard from outside groups in pri-

vate meetings. Some meetings were with litigants and counsel in these consolidated

cases. Tr.1472:5-20; 1571:10-1573:14 (discussing interactions with NAACP, League of

Women Voters of Florida, LatinoJustice, ACLU, and the Democratic Party).

      The State’s sixty-seven Supervisors of Elections participated through their trade

organization, the Florida Supervisors of Elections Association, and successfully lobbied

for the Registration-Delivery Provision, an Association priority. E.g., Op.77. The Asso-

ciation’s Chair, former State House and State Senate member, Alan Hays, was the

“coach.” Tr.3085:16-19. The Association’s lead lobbyist, David Ramba, was the “quar-

terback.” Id. Both agreed that there was nothing unusual about the legislative process,

Doc.549-2 at Tr.189:6-190:10 and Tr.3101:19-3102:4, except for the COVID-related

protocols that applied to all bills under consideration during that session. Doc.481-1,

481-3 (relevant protocols); Doc.523 (judicially noticing same); Tr.1582:4-7, 3092:3-

3094:18, 3095:22-3096:4, 3099:21-3100:20 (various witnesses agreeing that the Legisla-

ture followed protocols).



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      Importantly, the Supervisors of Elections answered survey questions posed by

Chair Erin Grall of the Florida House’s Public Integrity and Elections Committee. E.g.,

Exh.137, 148, 177. These questions asked for details about the in-person and vote-by-

mail process. They asked, for instance, about the number of ballots returned as unde-

liverable, staffing at drop boxes, and referrals of suspected fraud to the various State

Attorneys. Party affiliation was relevant only to determine whether such affiliation could

be determined from the outer, visible portion of the vote-by-mail envelope (something

SB90 subsequently prohibited). None of the survey questions or the subsequent legis-

lative discussions about the survey addressed race, gender, or ethnicity. E.g., Exh.426 at

Tr.62:22-63:2 (Chair Grall stating that she noticed “from the survey, about 78,000 bal-

lots were returned as undeliverable” from “54 counties,” which was “[a]nother reason

to go to the two years” for frequency of vote-by-mail ballot requests).

      The Secretary of State’s Office also served as “a resource to the legislature.”

Tr.3395:1-2. It shared with legislators the questions posed to the Office, concerns about

“uniformity and security,” and general “uncertainty” that pervaded among Supervisors

of Elections about the 2019 drop-box law. Tr.3400:3-8, 3411:7-21. It discussed pro-

posals to “ensur[e] the authenticity of vote-by-mail ballot requests.” Tr.3400:9-11; see

also 3400:16-3401:9, 3402:4-15. 3406:22-3407:4, 3409:17-25. It relayed election fraud

complaints received by the Office. Tr.3413:15-22, 3458:20-3459:21. And it provided

statutorily mandated post-election data files to the whole Florida Legislature, Republi-

can and Democrat alike, see Fla. Stat. § 98.0981(5), but no race-related summaries or
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statistics were asked for or given to the Florida Legislature. Tr.2795:2-12, 2827:3-

2828:16, Tr.2830:21-2831:8, 3408:2-3409:15; see also Tr.2791:2-7; Exh.318.

       Then-Secretary Lee testified before legislative committees. Among other things,

she discussed how the local implementation of the drop-box statute varied and how the

vote-by-mail process generally works from the initial request to the return of ballots.

Exh.445 at Tr.2:13-36:17; Exh.1596 at Tr.5:5-52:23. She didn’t discuss race.

       Concerns about fraud were debated as well. For example, SB90’s House sponsor,

Representative Blaise Ingoglia, discussed a 2012 Miami Dade Grand Jury Report con-

cerning vote-by-mail fraud and Florida’s well-documented history of the same. Exh.508

at Tr.23:1-9; see also Fla. State Conf. of NAACP v. Browning, 569 F. Supp. 2d 1237, 1251

(N.D. Fla. 2008) (discussing Florida’s “rich history of absentee-ballot fraud”); In re Pro-

test of Election Returns & Absentee Ballots in Nov. 4, 1997 Election for City of Miami, 707 So.

2d 1170, 1174 (Fla. 3d DCA 1998) (“We expressly hold that substantial evidence sup-

ported the trial court’s finding that extensive absentee fraud affected the outcome of

the November 4, 1997, City of Miami Mayoral election.”); Doc.462-29 at Tr.70:1-24.

       Chair Grall and others raised the possibility of fraud in the future. She explained

that “[r]ight now anyone on Facebook can change your party, your address, even your

name in the voter records if they pick your birthday up from a Facebook account,”

citing changes to Governor DeSantis’s voter information before the 2020 election and

justifying the broader need for reform. Exh.528 at Tr.86:16-87:2; cf. Tr. 3477:13-

3478:11; Exh.1557 (compiling vote-by-mail-related issues).
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         With input from many—including some of the litigants in these cases—the bill

evolved during the legislative process. Exh.427 at Tr.55:8-11. Security and integrity were

balanced against access, with the balance tilting in favor of access. See infra. Democratic

legislators thanked their Republican colleagues for working with them in good faith on

the changes. Democratic Representative Ben Diamond said, for example: “I appreciate

the changes, Representative [Ingoglia], that you made as a result of the strike all.” Id.

Tr.51:11-13. Democratic Representative Tracie Davis, a member of the black caucus,

agreed. She said: “I would like to put on the record that I know the sponsor of this bill

[Ingoglia] has been working with all the stakeholders, and I appreciate that.” Id. Tr.55:8-

11. She added: “This bill changed from the last time I have seen it and witnessed it and

it’s going into a decent direction.” Id.

         Nevertheless, Florida was sued. The first lawsuit was filed nine minutes after the

bill became law. Peter Schorsch, Sunburn (May 7, 2021) (“@marceelias: We sued Florida

9 minutes after DeSantis signed the Florida law.”), https://bit.ly/3nSkOeo.

         II.   Prior Proceedings

               A.     Plaintiffs Challenge Provisions of SB90, and the District
                      Court Declares Four Provisions Violate Federal Law.

         Plaintiffs filed four separate complaints challenging six distinct aspects of SB90.

After a fourteen-day bench trial, the district court permanently enjoined four provi-

sions:




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      1. Drop-Box Provision, § 101.69(2)-(3): Prohibiting the use of drop boxes out-
         side of regular voting hours and requiring drop boxes to be continuously
         monitored by an employee of the Supervisor of Elections during those hours.

       2. Registration-Delivery Provision, § 97.0575(3)(a): Requiring third-party voter
          registration organizations (“3PVROs”) to deliver voter-registration applica-
          tions to the Supervisor of Elections in the county where an applicant resides
          within fourteen days or before registration closes.

       3. Registration-Disclaimer Provision, § 97.0575(3)(a): Requiring 3PVROs to in-
          form would-be registrants that their applications might not be delivered on
          time and that they can register themselves in person, online, or by mail.

       4. Solicitation Provision, § 102.031(4)(a)-(b): Prohibiting solicitation of voters
          within 150 feet of a drop box or polling place.2

Notably, none of the Plaintiffs alleged that the Registration-Disclaimer Provision or the

Registration-Delivery Provision was intentionally discriminatory. Op.12, 113. The

NAACP and Florida Rising Plaintiffs alleged that the other two provisions were inten-

tionally discriminatory. The League of Women Voters and Harriet Tubman Plaintiffs brought

no intentional discrimination claims, brought no VRA claims, and did not seek pre-

clearance under the VRA.

      The district court ruled that the Drop-Box, Solicitation, and Registration-Deliv-

ery provisions intentionally discriminate against black voters, and thus violate the Four-

teenth Amendment, Fifteenth Amendment, and VRA. Op.134-36. Applying the multi-

factor test from Arlington Heights, the court began by surveying Florida’s “history of



      2
         The district court dismissed challenges to SB90’s restrictions on third-party bal-
lot collection for lack of standing, League Doc.274, and upheld on the merits two pro-
visions concerning requests for vote-by-mail ballots. Op.105-08.
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racial discrimination” starting with the Civil War. Op.42-45. It then asserted that Florida

has repeatedly “target[ed] Black voters because of their affiliation with the Democratic

party,” mostly citing lawsuits where courts found that Florida didn’t engage in inten-

tional discrimination. E.g., Op.52, 60, 64. The court also found that the procedures used

to pass SB90 didn’t cut “one way or the other,” Op.83, while dismissing concerns over

“voter confidence” and “fraud” as unpersuasive, Op.70-75. In terms of legislators’

statements, the court largely dismissed their relevance. Op.84-88, 129.

       Crucially to the court, it thought that the challenged provisions had disparate

impacts on black voters because it believed that those voters are currently more likely

to use drop boxes, register through 3PVROs, and wait in long lines. Op.116. The court

relied on Plaintiffs’ experts, though it acknowledged the significant limitations in their

methods and findings. Op.90-104, 109-15. The court further speculated that the Legis-

lature—all of it—knew about these disparate impacts based on the State election direc-

tor’s “face and body language” at a Zoom trial, a floor statement where one Republican

denied that SB90 would have disparate impacts, and the criticisms of Democratic legis-

lators. Op.88-89, 116-21. It also faulted the Legislature for rejecting “less discriminatory

alternatives” offered by Democrats, including “doing nothing.” Op.122-25.

       Based on its intentional-discrimination ruling, Chief Judge Walker not only per-

manently enjoined the challenged provisions, but also invoked section 3(c) of the VRA.

Specifically, he barred Florida from “enacting” any law “governing 3PVROs, drop

boxes, or ‘line warming’ activities” without preclearing it with him first. Op.281. The
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court admitted that “[t]he parties treat[ed] [preclearance] as an afterthought,” giving it

less than 6 total pages of briefing. Op.270. But the court failed to note that, despite

asking the parties for supplemental briefing on countless topics, it never once asked for

more briefing on preclearance. E.g., League Docs.471, 542, 543, 554, 630, 636, 657, 659.

Nor did it conduct a remedial hearing. The court instead applied the multi-factor test

from Jeffers v. Clinton, 740 F. Supp. 585 (E.D. Ark. 1990). It didn’t apply Shelby County v.

Holder, 570 U.S. 529 (2013), though it did criticize that opinion as wrong. Op.44, 273-

74. The court stressed that section 3(c) of the VRA allows courts to order preclearance,

and it held that preclearance was plainly constitutional under Congress’s authority to

“‘make or alter’” States’ regulations of federal congressional elections. Op.280 (quoting

U.S. Const. art. I, § 4, cl. 1).

       As for the Registration-Disclaimer Provision, the district court ruled that it com-

pelled speech in violation of the First Amendment. Op.218. The court acknowledged

that the Florida Legislature had since passed SB524—a bill that, once signed by the

Governor, would “moot Plaintiffs’ claims challenging the registration disclaimer” by

repealing that provision and replacing it with a different disclaimer. Op.190, 258. In

fact, it cited SB524 against the State, contending that its less restrictive alternative proved

that the Registration-Disclaimer Provision “is not narrowly tailored.” Op.215-16. But

instead of staying its hand, the court enjoined the Registration-Disclaimer Provision.

Its preclearance order meant that SB524’s repeal of the Registration-Disclaimer couldn’t

come into force without the court’s blessing. In other words, the court invalidated a
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provision that “[a]ll agree” would “likely become moot soon,” and then blocked en-

forcement of the legislation that would moot it. Op.190.

       Finally, as an alternative ground for invalidating SB90’s Solicitation Provision,

the district court deemed that provision vague and overbroad. According to Plaintiffs,

this provision regulates speech to the extent it prevents them from giving voters in line

food, water, and other tangible items. Op.182-83. The district court not only agreed,

but held that this defect made the provision facially unconstitutional. Op.157-87.

       The district court then denied a stay pending appeal. Op.268-69. It criticized the

“all-powerful” Purcell principle as “wholly judge-made” and accused certain Justices of

applying it hypocritically. Op.261-68.

              B.     This Court Issues a Stay and Deems Moot the Challenge to
                     SB90’s Registration-Disclaimer Provision.

       This Court granted a stay after concluding that the case “easily falls within the

time period that trigger[s] Purcell.” League of Women Voters of Fla. v. Fla. Sec’y of State, 32

F.4th 1363, 1371 n.6 (11th Cir. 2022). It also found that “[t]he district court’s determi-

nation regarding the legislature’s intentional discrimination suffers from at least two

flaws, either of which justifie[d] a stay.” Id. at 1372. It explained that the district court

failed to “properly account” for “the presumption of legislative good faith.” Id. at 1373

(citing Abbott v. Perez, 138 S. Ct. 2305, 2324 (2018)). And it explained that the district

court misapplied the test for intentional discrimination. Id. (citing Village of Arlington

Heights v. Metro. Housing Develop. Corp., 429 U.S. 252, 266-68 (1977), and Greater

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Birmingham Ministries v. Sec’y of Ala., 992 F.3d 1299, 1322 (11th Cir. 2021)). As for the

Solicitation Provision, this Court said that “the state has a substantial argument that the

statute passes constitutional muster.” Id. at 1374.

       Because of the stay, SB524 also went into effect, the Registration-Disclaimer

Provision was repealed, and issues concerning the provision became moot. Id. at 1372

n.9. The Defendants then filed a motion to dismiss the issue and sought Munsingwear

vacatur of the district court’s opinion and judgment concerning the provision. Mot.

Partial Dismissal & Vacatur (May 24, 2022). Plaintiffs didn’t oppose dismissal but did

oppose vacatur. Resp. to Mot. Partial Dismissal & Vacatur (June 3, 2022). This Court

issued an order deferring the matter to the merits panel. Order (June 9, 2022).

                              STANDARD OF REVIEW

       Plaintiffs “must establish actual success on the merits, as opposed to a likelihood

of success,” before obtaining a permanent injunction. KH Outdoor, LLC v. City of Truss-

ville, 458 F.3d 1261, 1268 (11th Cir. 2006). While this Court “review[s] the district court’s

entry of a permanent injunction for an abuse of discretion, the district court’s underly-

ing legal conclusion”—that four provisions of Florida law violate the Constitution and

VRA—“is reviewed de novo.” Thomas v. Bryant, 614 F.3d 1288, 1303 (11th Cir. 2010); see

also United States v. Ballinger, 395 F.3d 1218, 1225 (11th Cir. 2005). Factual findings are

reviewed for clear error. Thomas, 614 F.3d at 1307. Though the clear-error standard

requires deference to the district court, some district courts clearly err. See United States

v. Crawford, 407 F.3d 1174, 1177 (11th Cir. 2005).
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                        SUMMARY OF THE ARGUMENT

      Federal injunctions of Florida’s election laws cause the “serious[] and irrepa-

rabl[e] harm” of preventing the State from “conducting [its] elections pursuant to a

statute enacted by the Legislature.” New Ga. Project, 976 F.3d at 1283. The injunction in

this case rests on: (1) a complete disregard of the legislative presumption of good faith,

an inquiry concerning intentional discrimination that ignores all recent precedent, and

a highly suspect case for discriminatory impact; (2) contempt for the standards that

govern claims under section 2 of the VRA; (3) a decade-long intrusion on the State’s

sovereignty through judicial preclearance without any application of Shelby County and

its “exceptional condition” test for preclearance; and (4) an overzealous application of

the cases concerning vagueness and overbreadth that turns a time for choosing for vot-

ers into a time for campaigning. Issues concerning the Registration-Disclaimer Provi-

sion are now moot with SB524 becoming law. As such, (5) Munsingwear-vacatur is ap-

propriate for portions of the order concerning the disclaimer.

                                    ARGUMENT

      I.     The District Court’s Fourteenth and Fifteenth Amendment Analy-
             sis Relies on a Demonstrably Flawed Assessment of Discrimina-
             tory Intent and Effect.

      All must concede—as Plaintiffs’ expert Dr. Austin did concede—that the chal-

lenged provisions are facially neutral. Tr.903:23-904:2. “[A] law neutral on its face, yet

having a disproportionate effect on [a] group will be deemed to violate the [Fourteenth

Amendment’s] Equal Protection Clause only if a discriminatory purpose can be
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proven.” Joel v. City of Orlando, 232 F.3d 1353, 1359 (11th Cir. 2000). The same is true

under the Fifteenth Amendment. See Jones v. Gov. of Fla., 15 F.4th 1062, 1068 (11th Cir.

2021). So discriminatory effect and intent must both be proven. Id.; see also Hand v. Scott,

888 F.3d 1206, 1207 (11th Cir. 2018). And the inquiry begins with “the presumption of

legislative good faith” being accorded to the State. Abbott, 138 S. Ct. at 2324.

              A.     The District Court Presumed Bad Faith.

       The district court’s errors began at the beginning. The court “failed to apply—

or even mention—the presumption of legislative good faith to which the [Florida Leg-

islature] was entitled.” N.C. State Conf. of the NAACP v. Raymond, 981 F.3d 295, 303 (4th

Cir. 2020). The words “good faith” don’t even appear in the 288-page opinion.

       The district court instead presumed bad faith. It assumed that SB90’s proponents

intended to impose disparate impacts on black Floridians, instead of crediting their de-

nials that any such impacts would occur. Op.88. And although the law doesn’t require

legislators to justify election laws with specific evidence, Common Cause/Ga. v. Billups,

554 F.3d 1340, 1353 (11th Cir. 2009), the court used the supposed lack of record evi-

dence to discredit the legislators’ concerns with voter confidence and fraud as pretextual

shams. Op.131. It also found that Florida would continue discriminating in the future

based solely on the fact that “the Governor’s Mansion and the Legislature are controlled

by [the Republican] party.” Op.277.

       Worse still, one statement from one legislator became the fulcrum around which

much of the district court’s intentional discrimination analysis turned. That “most
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important” statement came from Senator Dennis Baxley when responding to a question

posed to him by a Democratic colleague. Op.88. As the district court put it:

      In an exchange, Senator Berman asked Senator Baxley, “[a]re you aware
      that the restrictions in this legislation including those related to drop box
      and access to voter assistance will have a disparate impact on black vot-
      ers?” To which Senator Baxley responded, after denying SB 90 would disen-
      franchise anyone, “[n]ow to look at patterns of use and say, well, you may
      have to go about it a little different way. There’s a learning curve.”

Op.88 (quoting Doc.461-98 at 100) (emphasis added). From this one statement—where

Senator Baxley accepted the premise of the question to answer it—the district court

inferred that (1) the Senator had in fact looked at “patterns of use,” (2) knew from that

patterns those black voters would be disparately impacted (even though Plaintiffs’ many

experts didn’t come close to showing such impact), and that (3) this “candid[]” admis-

sion of “harm [to] Blacks” extended to every legislator who voted for SB90. Op.89. 3

      The district court “return[ed] to this statement” from Senator Baxley again and

again for the otherwise unsupported proposition that the entire Legislature knew that

SB90 would harm black voters. Op.89. Such reliance was in error.

      The Supreme Court has “long disfavored arguments based on alleged legislative

motives,” and recently reiterated that “it is quite a leap” to use “statements made by a

few supporters” to “attribute these motives to all the legislators.” Dobbs v. Jackson


      3
        Plucked from over twenty-six hours of formal legislative proceedings, this one
statement is a microcosm of the bad faith the district court employed. A presumption
of good faith would dictate that the comment about a “learning curve” spoke to the
need for all voters, regardless of race, to familiarize themselves with the new election
laws and nothing more.
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Women’s Health Org., 2022 WL 2276808, at *18 (U.S. June 24, 2022) (cleaned up). And

the district court knew better; it rejected other statements from individual legislators

precisely because they did “not tell [the district] [c]ourt much about the Legislature’s

motivations as a whole.” Op.87.

       Of course, nothing in the record supports the supposition that the entire Florida

Legislature shared in what the district court erroneously thought to be Senator Baxley’s

admission of invidious purpose. The district court grasped at two straws to conclude

otherwise. First, it focused on the “face and body language” of the State’s longstanding

election director, as she testified over Zoom, and then disregarded her actual testimony

that the Legislature simply asked her office “how many people were using the drop

boxes,” and not about the race of those individuals. Id. 117-19 (citing Tr.3412:1-

3413:3).4 Second, the court credited the testimony of Senator Gary Farmer, a Democrat,

who said at trial that the legislative majority wasn’t interested in the impact-related data

he obtained from litigants in this case like “the Legal Defense Fund, NAACP, and

League of Women Voters.” Id. at 120. In other words, the first witness said that the

Legislature didn’t ask for race-related data; the second witness said that the legislators

responsible for shaping SB90 didn’t care to see the data he had independently obtained.


       4
         The district court seemingly called the election director a liar. Op.117-19. And
at one point during the trial, the court directed Plaintiffs to impeach her with her depo-
sition testimony from months before. Tr.3461:1-4. Yet, that attempted impeachment
only bolstered the election director’s credibility because the testimony was nearly iden-
tical. Even the district court grudgingly acknowledged that the testimony did not
change—that her testimony on the “shaping” SB90 was unimpeachable. Tr.3462:6-8.
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Cf. Barber v. Thomas, 560 U.S. 474, 486 (2010) (cautioning against the use of “statements,

such as those of the individual legislators, made after the bill in question has become

law”); Butts v. NYC, 779 F.2d 141, 147 (2d Cir. 1985) (“The Supreme Court has” “re-

peatedly cautioned” “against placing too much emphasis on the contemporaneous views of

the bill’s opponents.” (emphasis added) (collecting citations)); Mercantile Tex. Corp. v. Bd.

of Governors of Fed. Reserve Sys., 638 F.2d 1255, 1263 (5th Cir. Unit A Feb. 1981) (same).

       And even if everyone in the Legislature who voted for SB90 did know about the

“pattern of use,” for which there’s no credible evidence, it still doesn’t matter. All it

demonstrates is an “awareness of consequence,” which isn’t enough to establish dis-

criminatory intent. Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979) (“‘Discrimi-

natory purpose’” “implies that the decisionmaker, in this case a state legislature, selected

or reaffirmed a particular course of action at least in part ‘because of,’ not merely ‘in

spite of,’ its adverse effects upon an identifiable group.”).

              B.     The District Court’s Inquiry in Search of Intent.

       At a more granular level, the district court applied Arlington Heights’ test for cir-

cumstantial evidence of intent without honoring the precedents that have refined it—

most notably, this Court’s decision in Greater Birmingham Ministries v. Secretary of Alabama,

992 F.3d at 1299, and the Supreme Court’s decision in Brnovich v. DNC, 141 S. Ct. at

2321. This “eight-factor” test looks to:

       1. “the impact of the challenged law,”

       2. “the historical background,”
                                             20
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      3. “the specific sequence of events leading up to its passage,”

      4. “procedural and substantive departures,”

      5. “the contemporary statements and actions of key legislators,”

      6. “the foreseeability of the disparate impact,”

      7. “knowledge of that impact,” and

      8. “the availability of less discriminatory alternatives.”

LWVF, 32 F.4th at 1373 (citing Arlington Heights, 429 U.S. at 266-68, and Greater Bir-

mingham, 992 F.3d at 1322). Errors of law, errors of fact, and errors concerning the

misapplication of law to facts abound in the district court’s 288-page opinion.

                    1.     Historical Background

      The district court discussed the historical background first. See Op.45-65. It be-

gan with an analysis tracing Florida’s “grotesque history of racial discrimination” from

the Civil War to acts of “terrorism” and “racial violence” in the early and mid-1900s.

Op.42-45. It then criticized the majority in Shelby County for suggesting that our country

has changed for the better since the mid-1900s. Op.44. And, among other things, it

discussed socio-economic data, the tendency of black voters to associate with the Dem-

ocratic Party, statutory changes to Florida’s voting laws, and past court cases. Op.45-

65. The court concluded that “Florida has a horrendous history of racial discrimina-

tion,” which cuts against SB90. Op.64. The problems with this approach are fourfold.

      First, Greater Birmingham holds that the relevant “historical background” is the

“precise circumstances surrounding the passing of the [challenged] law.” 992 F.3d at
                                           21
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1325. It calls for a “focus[ed]” and “[]limited” inquiry, not one that “taint[s]” the State

of Florida with “the old, outdated intentions of previous generations,” as the district

court did here. Id.; accord Brnovich, 141 S. Ct. at 2335.

       Second, the district court’s discussion about socio-economic data and the asso-

ciation of black voters with the Democratic Party proves little. Plaintiffs alleged dis-

crimination on account of race—not income. Courts have also cautioned against con-

flating race with partisanship because “partisan motives are not the same as racial mo-

tives.” Brnovich, 141 S. Ct. at 2349 (citing Cooper v. Harris, 137 S. Ct. 1455, 1466 (2017)).

And the court have said that neutral “justifications should not be disregarded simply

because partisan interests may have” played a role in passing a law. Crawford v. Marion

Cnty. Election Bd., 553 U.S. 181, 204 (2008) (plurality). Regardless, the conflation of other

issues with race runs headlong into yet another problem: it fails to establish that the

Florida Legislature “selected” a “course of action” “because of,” not “in spite of,” race.

Feeney, 442 U.S. at 279.

       Third, the district court’s recounting of statutory changes and past cases is both

selective and wrong. The district court states that “Florida has a history of maintaining

its voter rolls in a discriminatory manner”—of “purging” black voters from the rolls

“one after another” “for the past 20 years.” Op.52-58. As support, the district court

cites material referenced in the Plaintiffs’ expert reports—material from 2000, news

reports and law review articles from the early 2000s, and a law review article from

2013—as well as a court case from 2012. Op.53-56. Even if this stack of hearsay upon
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hearsay funneled through an expert establishes that Florida erred in its past work to

maintain accurate voter rolls, there’s nothing to suggest that Florida’s efforts over the

last decade were either flawed or improper. And reliance on past cases makes little sense

because, as the district court itself acknowledged, “[s]killed and well-respected judges

from multiple courts examined [changes to Florida’s election laws], and they all found

that the Florida Legislature did not enact them with the intent to discriminate based on

race.” Op.64 (emphasis added). Indeed, from time to time, the State even took cues

from Chief Judge Walker in “chang[ing] the law to conform with [his] orders.” Op.7

n.4. Surely past acquiescence cuts for, not against, the State.

       Finally, the district court’s recitation of Florida’s grotesque but distant past is

inconsistent with the State’s more recent history. Since 1982, the State has seen greater

participation and representation for Florida’s minority voters. Plaintiffs’ expert on “the

history of Florida elections and the government’s response to Black and Latino partic-

ipation in those elections” “essentially since reconstruction” seemingly conceded as

much. Tr.840:18-20. Dr. Austin noted that though black Floridians were elected to Con-

gress and the State Legislature during reconstruction, Tr.853:14-17, none held any con-

gressional or statewide office from the end of reconstruction until 1990. Tr.913:18-19,

914:1-3. Yet, since 1990, Florida has elected nine black members of Congress, both

Democrats and Republicans, Tr.913:20-25, and a black lieutenant governor in 2010 who

happened to be a Republican. Tr.914:4-10. And the State twice voted for President

Obama when he was on the statewide ballot in 2008 and 2012. Tr.914:11-13. Moreover,
                                             23
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in 2019, then-Secretary Lee approved a rule that made Spanish-language ballots availa-

ble everywhere in the State—improving access to Florida’s sizeable black, Spanish-

speaking population. See Fla. Admin. Code R. 1S-2.032. Thus, when asked whether

Florida’s recent history meant that “compared to 1982, it has become easier for Blacks

to register and vote in Florida,” Dr. Austin said “I would say yes,” before hesitating,

changing her answer to “no,” and then saying “that it’s hard to answer those questions

with a yes or no answer.” Tr.914:14-25. She had it right the first time.

                    2.     Sequence of Events Leading to Passage

      Next, the district court considered the sequence of events leading up to SB90’s

passage. Op.65-78. The court appreciated that the 2020 election cycle was challenging

and the events surrounding that election undercut voter confidence. Op.68-69. Yet it

then suggested that the voters of Florida were somehow immune from the broader

crisis of confidence and that the State could justify no reforms on this basis—a conclu-

sion that makes little sense. Op.70. The court also rejected concerns about attempting

to “prophylactically” respond to fraud as unproven and illegitimate pretexts, and seem-

ingly erected a standard whereby the State had to match evidence of fraud with what

“SB 90 might prevent.” Op.72. Here too the district court erred.

      As an initial matter, the district court ignored binding precedent when erecting

new hurdles for the State to clear. Greater Birmingham and Brnovich emphasize that “com-

batting voter fraud” and “increasing confidence in elections” are “valid neutral justifi-

cations” that dispel an inference of discrimination, “even in the absence of any record
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evidence.” Greater Birmingham, 992 F.3d at 1327, 1334; accord Brnovich, 141 S. Ct. at 2348

(“And it should go without saying that a State may take action to prevent election fraud

without waiting for it to occur and be detected within its own borders.”).

      Moreover, the record is replete with valid neutral justifications and record evi-

dence though the latter is not required. Among other things, during the fourteen-day

trial, the State submitted a forty-minute video excerpt highlighting contemporaneous

justifications from members of the Florida Legislature. Exh.1604. Broadly speaking, the

excerpt and accompanying transcripts make clear that the State chose to act on the heels

of “one of the most secure [elections] we’ve seen in Florida” so that it could “continue

to be the leader in election security”—to guard against the threats “in the future” that

could “impact our elections.” Exh.528 at Tr.10:16-12:11. Survey results from forty-five

of the State’s sixty-seven counties supported the Legislature’s concerns about the need

for clear, consistent standards. E.g., Exh.426 at Tr.62:22-63:2 (Chair Grall’s referencing

results from “54 counties”); Exh.137, 148, 177. And information concerning fraud from

the State’s election director added to the need for reform. See Tr.3413:15-22 (sharing

“vote-by-mail fraud” complaints), 3457:1-9 (recalling that she was asked about “[i]ssues

of voter fraud”); cf. Exh.1557 (summarizing vote-by-mail issues).

      For the Drop-Box Provision specifically, the record shows that the 2020 election

cycle was the first time that drop boxes were used statewide. See Fla. Stat. § 101.69(2)

(2019). The statute then in effect prompted endless questions about its meaning.

Tr.3438:19-25; see also Tr.3105:1-25; Exh.1576. The State was also aware of acts of
                                           25
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vandalism with drop boxes in the run-up to the 2020 general election—of drop boxes

being burned for instance. Tr.3439:6-9. This confluence of questions and concerns

prompted the State to issue guidance concerning its interpretation of the statute.

Tr.3438:2-3. Not all of the Supervisors followed the resulting guidance. Tr.3439:1-3.

SB90’s sponsor in the Florida House voiced his frustrations about this lack of “uni-

formity.” Exh.429 at Tr.9:24-10:5; see also Exh.426 at Tr.68:7-22. And even Democratic

House Member, Allison Tant, when speaking of her home county, said that she “love[d]

the fact that our lockboxes were manned,” because that “go[es] a lot to some of the

concerns about ballot harvesting,” “security overnight,” and assisting voters at the point

at which the ballot was cast. Exh.1596 at Tr.116:14-117:2, 117:18-20. She encouraged

reform that would require other Supervisors to do the same. See id.

       The need for uniformity and security thus animated the State’s interest in the

Drop-Box Provision. The State’s election director testified to this effect. Tr.3400:18-

3401:9. Supervisor Doyle echoed the security concerns when discussing why he discon-

tinued the use of unmanned, twenty-four-hour drop boxes. Tr.3202:23-25, 3203:6-21.

Supervisor Christina White of Miami-Dade County, whose office followed the State’s

guidance, now codified in the Drop-Box Provision, summed up the benefits. She ex-

plained that its requirements (1) serve as “an added layer of security” either to deter

incidents or ensure there are witnesses to any incident, Tr.3154:2-15; (2) “aid in voter

confidence” because her constituents appreciate handing their ballots to an actual per-

son, Tr.3154:16-20; and (3) ensure that her staff can remind voters to sign the outer
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envelope of their ballot, which contributed to a decrease in the rejection rate for ballots.

Tr.3155:15-21; Exh.390. And, given the State’s 7 pm election-day deadline for receipt

of ballots, “staff is instructed” to approach those waiting to deposit their ballots and to

take “the ballots of all of those voters that are waiting in line.” Tr.3156:23-3157:6.

       The district court was unpersuaded by the security rationale, calling it “nonsen-

sical.” Op.74. It concluded that there was no evidence of tampering with drop boxes in

Florida, id., though precedent doesn’t require a state to wait for such fraud to “be de-

tected within its own borders.” Brnovich, 141 S. Ct. at 2348. And because Florida was

mandating that Supervisors monitor drop boxes that contained ballots, but the U.S.

Postal Service had no similar mandate for mailboxes, the district court found the re-

quirement “ridiculous.” Op.75 (quoting Tr.3105:16). Here the court ignored common

sense. A handful of drop boxes specifically marked as containing only ballots—posi-

tioned at widely advertised locations—are different than mailboxes scattered across a

county. Bad actors targeting the former can get more bang for their buck. Cf. Doc.549-

2 at Tr.206:6-8 (acknowledging that “firecrackers” and “TNT bombs” would fit

through a drop box slot but not “cherry bombs”); see also id. Tr.204:12-206:23.

       For the Registration-Delivery Provision, the district court briefly mentioned but

otherwise ignored that this was a “priority” of the State’s Supervisors of Elections. Com-

pare Op.77, with Tr.3120:6-18. The provision spreads the burden of processing voter

registration forms among the Supervisors rather than putting it squarely on a handful

of Supervisors in “high metro areas where a voter drive [might be] conducted,” or
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where “people [are] coming in from all over the State” to attend an event. Tr.3426:13-

20. The need for timely delivery of registration forms didn’t originate in a vacuum ei-

ther. There had been numerous complaints of 3PVROs missing the book closing dead-

line. E.g., Tr.3421:14-21, 3421:25-3422:4; Exh.1556 at 7-24, 45-46, 51-52, 57-62, 73-74,

123-24; see also Tr.3164:18-25; cf. Exh.1562 (binder compiling summary of voter regis-

tration issue); Exh.1561 (summarizing same); Exh.1556 (binder compiling 3PVRO

complaints); Exh.1555 (summarizing same).

       And, finally, the Solicitation Provision was meant to maintain a safe space around

polling places. Tr.3439:22-3440:2. “Aggressive and intrusive behavior” outside of poll-

ing places is not uncommon; campaigners, bullhorns, loud music, fights, food trucks,

and reporters compete for the attention of voters. Tr.1387:15-1391:2, 3440:3-8; see also

Exh.382. But polling places are one of the few where “[m]embers of the public are

brought together,” “at the end of what may have been a divisive election season,” so

that they can together “reach considered decisions about their government and laws.”

Min. Voters All. v. Mansky, 138 S. Ct. 1876, 1887-88 (2018). Florida thus has a valid,

evidence-based, neutral justification for prohibiting the solicitation of voters within 150

feet of a drop box or a polling place. See Fla. Stat. § 102.031; Citizens for Police Accounta-

bility Pol. Comm. v. Browning, 572 F.3d 1213 (11th Cir. 2009) (recognizing Florida’s com-

pelling interest in a 150-feet no-solicitation zone around polling locations). The district

court didn’t disagree except to say that “voting is ‘very often a communitarian act’—

especially in the Black community.” Op.75 (quoting Plaintiffs’ expert Dr. Kousser).
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                     3.     Procedural or Substantive Departures

       Procedural and substantive departures from legislative procedures were also con-

sidered. Op.78-83. Trial testimony came from legislators who opposed SB90. Op.79-

82. They complained that Supervisors of Elections did not have adequate time to ad-

dress issues, that the legislative majority moved too quickly in shepherding SB90

through, and that it was unusual for the Legislature to use strike-all amendments to

make multiple changes to the bill rather than section-by-section changes. Op.79-82. Mr.

Ramba—the Supervisors’ quarterback—generally disagreed. Op.82-83. Supervisor

Hays—the Supervisors’ coach—did too; he “didn’t see anything in the mechanical stuff

of the passing of Senate Bill 90 that was anything out of the ordinary.” Doc.549-2 at

Tr.189:1-5; see also id. at Tr.189:6-190:10. After considering the evidence, the district

court concluded that “this factor does not strongly weigh one way or the other,” Op.83,

because “the procedure used to pass SB90 was unusual writ large, but not necessarily

so for a hyper-partisan bill such as SB90.” Op.83.

                     4.     Statements of Key Legislators

       But, as discussed above, one statement from one legislator did weigh heavily

against the State in the district court’s analysis. Op.88. Other statements didn’t. Op.87-

88. That said, the court did reproduce a text exchange between two Republican legisla-

tors that “d[id] not show a racially discriminatory intent” but “d[id] suggest that the Leg-

islature passed SB90 with partisan purpose,” even though the Legislature rejected the so-

called “partisan” proposal being discussed. Op.84-85 (emphasis in the original).
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Elsewhere in its order, the court found that the “real purpose behind SB 90” was “to

favor the Republican Party over the Democratic Party,” Op.129, with the smoking gun

being a failed “partisan” proposal. Id.; see also Op.132.

       To repeat: the court’s overreliance on Senator Baxley’s statement was in error.

Even if that one statement had a discriminatory tone, which it didn’t, Greater Birmingham

rejects the relevance of statements from single legislators. 992 F.3d at 1324-25. And

“partisan motives are not the same as racial motives,” Brnovich, 141 S. Ct. at 2349,

though the court assumed that because “nine in every ten Black voters” votes for the

Democrats, impacts on Democrats are the same as impacts on blacks. Op.127. Finally,

conflating party with race also fails to establish that the Legislature “selected” a “course

of action” “because of,” not “in spite of,” race. Feeney, 442 U.S. at 279.

                     5.     Disparate Impacts (Measure, Foreseeability, &
                            Knowledge)

       The district court’s discussion of disparate impacts compounded the errors made

elsewhere in its analysis. To prove intent, Greater Birmingham says that the impacts must

be so “stark” that they reveal a pattern “unexplainable on grounds other than race.” 992

F.3d at 1322. The district court found nothing like that. Data from Plaintiffs’ experts

suggested, at best, a miniscule difference in how black and non-black Floridians voted

before SB90. Op.90-116. And the data was admittedly “limited,” “unclear,” “not nec-

essarily representative,” and “not statistically significant.” Op.97-98, 100-12.




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      A. Take the analysis concerning the Drop-Box Provision. The district court con-

cluded that “[b]lack voters favor drop boxes more than other racial groups,” “relying

on Plaintiffs’ expert, Dr. Herron.” Op.97. Dr. Herron looked at drop-box usage in three

ways: (1) by looking at data provided by forty-six of the State’s sixty-seven Supervisors

of Elections; (2) by reviewing “lists of individuals who cast drop box ballots” that were

provided by five of the State’s sixty-seven counties; and (3) by guessing where Supervi-

sors might place drop boxes in light of SB90. Op.97-104. None of these three ap-

proaches works.

       First, there were problems with Dr. Herron’s decision to rely on self-reported

data from forty-six of the sixty-seven counties. Op.97. To state the obvious, this data

didn’t include information from Florida’s fourth (Hillsborough) and seventh (Duval)

most populous counties, home to the cities of Tampa and Jacksonville. See Doc.467-5

at 46, Tb.10. Dr. Herron also failed in his stated goal of “identify[ing] any relationships

between race and drop-box usage.” Op.97. All he found was “suggestive evidence” of

a correlation. Op.97. (quoting testimony). This correlation was “not statistically signifi-

cant,” meaning that any observed correlation could have been the result of chance

alone. Op.97.

       Second, relying on voter-usage records from five of the sixty-seven counties was

improper. The only counties with such records were Sarasota, Santa Rosa, Columbia,

Madison, and Franklin. Op.98. Dr. Herron himself recognized that these counties were

“not among the largest and most racially diverse counties in Florida.” Doc.467-5 at 49.
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Two (Madison and Franklin) produced records for only the general election in 2020. Id.

at 50. Data from one (Columbia) didn’t have “consistent results regarding Black and

White drop box rates.” Id. at 52. Data from another (Santa Rosa) showed that white

voters favored drop boxes more than black voters—a conclusion that contradicts the

district court’s ultimate conclusion regarding drop boxes. Id. at 52.

      Still, the district court relied on the resulting conclusions. Or as the district court

explained it, the positive coefficient estimates generated from logistical regressions es-

tablish that, on average, there were “14% greater odds” that a black voter “in Columbia,

Santa Rosa, and Sarasota Counties” would return a vote-by-mail ballot using a drop

box. Op.99. That’s so, according to the district court, because “e,” roughly equivalent

to 2.71828, “to the 0.131 power equals roughly 1.14,” “[t]hen 1.14 – 1 = 0.14,” and

“0.14 x 100 = 14.” Op.99 at n.36.

      To recap: the district court relied on data from a small handful of counties—one

of which said the opposite of what the court said—and mixed it together with statistical

argle-bargle to conclude that black voters throughout the State favor drop boxes more

than voters of other races. That’s precisely the kind of “misleading” “use of statistics”

for which the Supreme Court admonished the Ninth Circuit in Brnovich. 141 S. Ct. at

2345. It proves only that “a distorted picture can be created by dividing one percentage

by another”—or in this case using logarithmic regressions—especially when the data is

limited. Id.; accord Greater Birmingham, 992 F.3d at 1330 (citations omitted). And nothing



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suggests that the Florida Legislature was aware of, let alone motivated by, the sophisti-

cated math the district court found persuasive.

      Third, even the district court recognized that Dr. Herron’s guesses about where

Supervisors would place drop boxes didn’t account “for the universe of possible drop

box locations.” Op.100. It didn’t, for example, account for Supervisors adding early

voting sites (and thus drop box locations) or permanent branch offices (and thus drop

box locations that extended to election day itself). See Fla. Stat. § 101.69(2)(a). Yet the

court still credited this approach because it was substantiated by another expert’s con-

clusion that black voters “use drop boxes more heavily outside early voting hours than

other voters.” Op.101.

       B. That other expert was Dr. Smith. He looked at lists of drop-box usage from

only two counties (Columbia and Manatee) for his conclusion that black voters prefer

to use drop boxes outside the early voting window. Op.101. That’s it.

      Even that limited data had problems. Dr. Smith specifically said that there were

“data-entry errors” in the report provided by Columbia County. Doc.467-7 at 96 n.68

& 69. In Manatee County, as the district court explained, Dr. Smith “found that 13.5%

of Black voters and 13.4% of Latino voters deposited their [vote-by-mail] ballots out-

side of normal business hours, compared to 11.4% of White voters,” Op.103; however,

the court failed to note the aggregate numbers underlying the percentages. Those num-

bers show that only small percentages of ballots deposited in Manatee County’s drop

boxes were time-stamped: only 350 of 2,240 ballots cast by black voters, only 375 of
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2,418 ballots cast by Latino voters, and only 4,903 of 38,038 ballots cast by white voters.

Doc.467-7 at 102. In other words, the aggregate numbers show two things: (1) Manatee

County’s record keeping (like that in Columbia County) likely wasn’t very good on this

issue (and so drawing conclusions from it is suspect), and (2) white voters in Manatee

County seemingly favored the use of drop boxes more than black voters (which under-

cuts Dr. Herron’s conclusion). Id. Again, this is a “misleading” and improper “use of

statistics” to establish a disparate impact. Brnovich. 141 S. Ct. at 2345; accord Greater Bir-

mingham, 992 F.3d at 1330.

       C. For the Solicitation Provision, misleading statistics gave way to obvious

cherry-picking. “[T]o measure whether this provision will have a disparate impact on

Black or Latino voters,” the district court looked to “whether Black and Latino voters

are disproportionately likely to wait in line to vote.” Op.109 (emphasis added).

       The district court relied on Dr. Smith’s assessment of data from Miami-Dade

County over “five days,” Op.110, with the remaining data being “skewed” or otherwise

“limited.” Op.111. The court then used studies from 2012 to substantiate the theory

that minority voters face long lines and thus a disparate impact from the Solicitation

Provision. Op.109; see also Tr.2589:2-16. This despite reforms made since 2012 to spe-

cifically address long lines, see Tr.3440:11-15, 3441:11-24, which make reliance on dec-

ade-old data unreliable, and despite the Stanford-MIT Healthy Elections Project’s as-

sessment, favorably quoted elsewhere in the court’s opinion and in Plaintiffs’ expert



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reports, that the 2020 elections in Florida saw “few lines at polling places, except at the

start of early voting.” Tr.2587:20-2588:9; see also Op.68 (quoting favorably from same).

       Relying on five days from Miami-Dade County also ignored the more complete

and unrebutted evidence from the county itself. That evidence shows that the county

“posted wait times online every hour to assist voters in selecting a location most con-

venient for them” during the “14-day Early Voting period.” Exh.390 at 1. Average wait

times during the entire early-voting period were “under 15 minutes,” and the county saw

lines only “during the morning hours on the first day of Early Voting” when “eager”

voters queued to be “among the first” to cast a ballot. Id. “For Election Day, data

showed the average wait time was less than 15 minutes,” with the county “proud to

report that it achieved its aspirational goal that no voter waits more than one hour to vote.” Id.

(emphasis in the original).

       More fundamentally, the long-line argument for establishing discriminatory in-

tent requires a series of logical leaps. It assumes that the Florida Legislature knew about

the lines being long; knew that black voters were more likely to wait in line; and knew

that blocking black voters from accepting food and water from third parties within 150

feet of a polling place—so right outside a polling place—would deter them from voting.

What’s more, the Legislature would have had to assume that black voters were less likely

to bring food and water from home or accept it from election workers. Nothing in the

record comes close to establishing these assumptions.



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       D. The district court’s analysis for the Registration-Delivery Provision was flim-

sier still. “[A]lthough not challenged in Plaintiffs’ intentional race discrimination

counts,” Op.113, the court still assessed the provision as part of the analysis. Op.113-

15. The court found that “3PVROs overwhelmingly serve minority communities,” so

“by restricting their reach, the registration delivery provision disproportionately harms

Black and Latino voters.” Op.115.

       The only support for the district court’s conclusion was what the court called the

“not perfect” information in Dr. Herron’s report. Op.114. And all Dr. Herron con-

cluded was that there’s some “cost of voting” associated with the provision and that

the “burdens associated with these costs will fall more heavily on Black registered vot-

ers.” Doc.467-5 at 92-108. No costs or burdens were ever identified or quantified by

Dr. Herron, id., or even Dr. Smith. See Tr.2592:1-6. Nor were they weighed against the

benefits of requiring these organizations to return applications in a timely fashion.

       E. While the disparate impacts were based on statistical sophistry, judicial cherry-

picking, and ipse dixit, the district court still concluded that the Florida Legislature

should have foreseen these impacts and it otherwise had knowledge of the impacts.

Op.116-25. This conclusion was based on Senator Baxley’s singular statement viewed

in the worst possible light —as supported by the “face and body language,” but not the

words, of the State’s election director, Op.118, and the post-hoc testimony of one of

SB90’s opponents. Op.120-21. As discussed in the good-faith section above, the court

erred in its analysis. See supra.
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                    6.     Less Discriminatory Alternatives

      This final factor in the Arlington Heights analysis looks at whether the Legislature

“failed to consider” “alternatives that would lessen any potentially discriminatory im-

pact.” Greater Birmingham, 992 F.3d at 1327. The district court concluded that this factor

“weighs in Plaintiffs’ favor” for the challenged provisions. Op.125. That’s because “less

discriminatory alternatives to each challenged provision [as provided by Plaintiffs and

Democratic-legislators] not only were available but were presented to and rejected by

the Legislature,” with the exception of the vote-by-mail request provision. Op.125.

      But Greater Birmingham doesn’t fault the Legislature for rejecting “the alternative

option that Plaintiffs would have preferred.” 992 F.3d at 1327. It was wrong of the

district court to weigh against the State the amendments proposed by opponents of

SB90 and their outright attempts to kill the bill. See id. That the opponents’ “preferred

rule did not prevail” “does not suggest that the resulting rule violates the Constitution.”

Ariz. Democratic Party v. Hobbs, 18 F.4th 1179, 1193 n.8 (9th Cir. 2021).

      The record shows the Florida Legislature attempting to balance integrity with

access to improve voter confidence, provide clear rules, and address issues before they

affected Florida’s election. See supra. As Mr. Ramba said, “80 percent of the provisions”

in the bill “have a tweak.” Tr.3122:16-18. Among other things, earlier versions of the

bill would have banned all drop boxes altogether, Tr.1578:6-11; required specific forms

of identification or a signed attestation for those using this convenience, Tr.1578:12-17;

canceled all existing vote-by-mail requests, Tr.3117:17-3118:3, Tr.3157:15-3160:5; and
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imposed other requirements for the sake of security. E.g., Tr.1578:23-1579:5, 3118:17-

3119:7. In the end, even opponents of the bill grudgingly said that they “appreciate[ed]”

the bill’s evolution, Exh.427 at Tr.51:11-13, calling it a “decent” product. Id. at Tr.52:16-

20. Yet the district court accused the Legislature of “target[ing] Black voters.” Op.134.

       In sum, the district court mangled the test for circumstantial evidence of intent

from start to finish. “Thus,” just as in Greater Birmingham, “‘there is no basis for shifting

the burden to the State to determine whether, by a preponderance of the evidence, [the

Legislature] would have made the same decision notwithstanding its racial motivation.’”

992 F.3d at 1327-28 (quoting Burton v. Belle Glade, 178 F.3d 1175, 1195 (11th Cir. 1999)).

              C.     There’s Been No Showing of Discriminatory Effect.

       The disparate impact discussion above also underscores a separate, fatal flaw in

the district court’s Fourteenth and Fifteenth Amendment analysis: Plaintiffs’ failure to

prove a discriminatory effect on black voters. See supra. A state law violates the Four-

teenth and Fifteenth Amendments only “if it had both the purpose and effect of invidi-

ous discrimination.” Hand, 888 F.3d at 1207. In the district court’s own words, and as

explained earlier, the analysis of the effect of SB90 on black voters was based on “lim-

ited,” “unclear,” “not necessarily representative,” and “not statistically significant” data.

Op.97-98, 100-12. Therefore, Plaintiffs come nowhere close to establishing that SB90

even has a discriminatory effect, and the district court was wrong to conclude otherwise.




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       II.    The District Court Erred in Concluding that the State Violated
              Section 2 of the VRA.

       The district court also found that the State violated section 2 of the VRA because

“the Legislature passed the challenged provisions with a discriminatory intent.” Op.40

(citing Askew v. City of Rome, 127 F.3d 1355, 1373 (11th Cir. 1997)). As discussed above,

there was no discriminatory intent and so the district court erred here as well. See supra.

       Section 2’s text further underscores the district court’s error. That provision pro-

hibits the imposition of any law “which results in a denial or abridgement of the right

of any citizen of the United States to vote on account of race or color”—not party affilia-

tion—after considering the “totality of circumstances.” 52 U.S.C. § 10301(a)-(b) (em-

phasis added). Yet the district court segued between race and party affiliation because

“politics in Florida are racially polarized” for black voters in the State. Op.127. The

district court’s discussion of race and partisanship looks very much like the racial po-

larization analysis conducted as part of the inquiry under Thornburg v. Gingles, 478 U.S.

30 (1986). The Gingles test, however, applies only to vote dilution cases. Greater Birming-

ham and Brnovich both direct courts not to apply this test outside of a vote-dilution con-

text. Greater Birmingham, 992 F.3d at 1331-32; accord Brnovich, 141 S. Ct. at 2340.

       To state the obvious, this is not a vote-dilution case. This case concerns a chal-

lenge to a facially neutral law. And voting in Florida remains “equally open,” 52 U.S.C.

§ 10301(b), because, as Dr. Austin agreed, the challenged provisions apply to all voters

regardless of race, Tr.903:23-904:2, especially when compared to 1982, when section 2

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was last amended in any meaningful way. See Brnovich, 141 S. Ct. at 2337-38. Arguments

to the contrary rely on an assessment of disparities that are difficult to measure in iso-

lation, or as part of the State’s broader framework for registering and voting. Id. at 2339.

These contrary arguments also can’t overcome the State’s strong, legitimate, and well-

recognized interests, id. at 2340, for which it need not provide evidence, id. at 2343, but

for which the record in this case provides reams of evidence. See supra.

       III.   Preclearance Is Not and Cannot Be an Appropriate Remedy Under
              the Circumstances.

       Because the district court erred in finding intentional discrimination, its preclear-

ance remedy necessarily falls. Section 3(c) does not apply unless “violations of the four-

teenth or fifteenth amendment” have occurred, 52 U.S.C. § 10302(c)—meaning viola-

tions of the “protections against intentional racial discrimination in voting.” Perez v. Abbott,

390 F. Supp. 3d 803, 814-18 (W.D. Tex. 2019) (emphasis added); accord Veasey v. Abbott,

888 F.3d 792, 801 (5th Cir. 2018). This Court agreed when issuing a stay of the district

court’s decision. LWVF, 32 F.4th at 1372 n.9. But apart from being unsupported by a

legitimate finding of liability, the district court’s imposition of preclearance has inde-

pendent flaws.

       A. When deciding whether to impose that drastic remedy, the district court ap-

plied the wrong standard. It followed the Eastern District of Arkansas’s decades-old

decision in Jeffers. But this Court must follow Shelby County, which made clear that pre-

clearance is “a drastic departure” from federalism and equal sovereignty. 570 U.S. at

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535.5 Whether through Congress or the courts, the “Federal Government does not”

“have a general right to review and veto state enactments before they go into effect.”

Id. at 542; see also Rizzo v. Goode, 423 U.S. 362, 379 (1976) (federal courts must give

“appropriate consideration” “to principles of federalism in determining the availability

and scope of equitable relief”). Under Shelby County, preclearance is unconstitutional

absent “exceptional conditions.” 570 U.S. at 545, 556-57; see Perez, 390 F. Supp. 3d at

819 (“In the wake of Shelby County, courts have been hesitant to grant § 3(c) relief.”).

      The district court never attempted to find “exceptional conditions” of the kind

referenced in Shelby County. They don’t exist. See Shelby Cnty., 570 U.S. at 551, 554. In-

deed, they’ve long been gone in Florida, which has never been subject to statewide

preclearance—even in 1965. And today, black Floridians register and vote at rates of

58% and 52%—comparable to Oregon and far exceeding States like Colorado, Massa-

chusetts, Minnesota, and Washington. See Table 4b, Reported Voting & Registration, by Sex,

Race and Hispanic Origin, for States: November 2020, Census Bureau, bit.ly/37qgCgA.

      B. Nor could the district court sidestep preclearance’s constitutional problems

by pointing to Congress’s authority over congressional elections. Op.279-80. Congress


      5
          The texts of sections 3(c) and 5 are substantially the same, in that preclearance
requires prior review of any “voting qualification or prerequisite to voting” to be as-
sessed for whether it will have “the purpose” or “the effect” of “denying or abridging
the right to vote on account of race or color.” 52 U.S.C. §§ 10302(c), 10304(a). Where
section 5, through its now unconstitutional coverage formula, was intended to include
jurisdictions within its ambit, section 3(c) was intended to trigger coverage in “pockets
of discrimination” that section 5’s formula missed. H.R. Rep. No. 89-439 at 13 (1965)
reprinted in 1965 U.S.C.C.A.N. 2437, 2444.
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didn’t use that power to enact the VRA, that power does not reach state elections or

presidential elections, and no congressional power can be used to violate basic princi-

ples of federalism. See South Carolina v. Katzenbach, 383 U.S. 301, 308 (1966); McPherson

v. Blacker, 146 U.S. 1, 35 (1892); Printz v. United States, 521 U.S. 898, 923-24 (1997).

       Congress enacted the VRA using its powers under the Reconstruction Amend-

ments. The amendments give “Congress” the “power to enforce, by appropriate legis-

lation”—not the courts. U.S. Const., amend. 14, § 5; U.S. Const., amend. 15, § 2. And

the Supreme Court said in upholding the constitutionality of the VRA in Katzenbach and

then in Shelby County that only “‘exceptional conditions can justify legislative measures not oth-

erwise appropriate.’” 570 U.S. at 535 (quoting Katzenbach, 383 U.S. at 334 (1966)) (em-

phasis added). So, if Congress appropriately delegated its powers to the courts through

section 3(c), the same exceptional-conditions standard must apply before the courts can

infringe on the sovereign rights of states and treat those states disparately. Id. There

must be evidence of the State engaging in “pervasive,” “flagrant,” “widespread,” and

“rampant” discrimination before that State is forced to “beseech” some federal author-

ity “for permission to implement laws that they would otherwise have the right to enact

and execute on their own.” Id. at 544. Otherwise, section 3(c) is unconstitutional, see id.,

for “[a] record of scattered infringement of the right to vote is not a constitutionally

acceptable substitute.” Nw. Austin Mun. Util. Dist. No. One v. Holder, 557 U.S. 193, 228

(2009) (Thomas, J., concurring in the judgment in part and dissenting in part). Yet the

district court still failed to apply Shelby County’s test.
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      C. Finally, under any standard, preclearance was inappropriate here. SB90 is not

the kind of law that could trigger preclearance: Plaintiffs didn’t challenge most of the

bill, only two groups even alleged intentional discrimination, and the district court re-

jected many of those allegations. Nor is Florida a repeat offender: The best the district

court could muster was a string of cases where courts held that Florida didn’t engage in

racial discrimination. Op.52-65. At worst, the district court should have held that pre-

clearance is “not necessary here in light of [its] injunction.” N.C. State Conf. of NAACP

v. McCrory, 831 F.3d 204, 241 (4th Cir. 2016). Florida has no history of evading court

orders. The district court stressed Florida’s past compliance. Op.6-7 & n.4. And its one

supposed counterexample—SB524—is hardly “a mockery of the rule of law.” Op.279.

It outright repeals one of the challenged provisions, a registration disclaimer that Plain-

tiffs never alleged was racially discriminatory to begin with, see Op.12. And forcing these

parties to litigate preclearance issues saves no more time or money than ordinary litiga-

tion. Cf. Op.278-89. If anything, it increases the costs since provisions of law must be

precleared that otherwise would not have been challenged.

      Far from a “rarely used” remedy for the most “‘systematic and deliberate’” cases

of discrimination, the district court’s reasoning would make preclearance the norm in

voting-rights cases. Conway Sch. Dist. v. Wilhoit, 854 F. Supp. 1430, 1442 (E.D. Ark.

1994). That the court reached for this blunderbuss remedy—effectively putting Florida

in a decade-long federal receivership—highlights the problems with the entire order.



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       IV.    The Solicitation Provision’s Protection of Voters in Line Satisfies
              the Requirements of the First Amendment.

       For the sake of brevity and judicial economy, the Secretary and Supervisors join

in the Intervenor-Defendant-Appellants’ brief on this issue.

       V.     Munsingwear Vacatur Is Appropriate for the District Court’s Judg-
              ment Concerning the Registration-Disclaimer Provision that, All
              Parties Agree, Is Now Moot.

       For the sake of brevity and judicial economy, the Secretary and Attorney Gen-

eral join in the Intervenor-Defendant-Appellants’ brief on this issue.

                                    CONCLUSION

       The district court got it wrong. The presumption of legislative bad faith, the un-

focused historical inquiry, and the limited and statistically insignificant conclusions—to

name a few errors—can’t prove intentional discrimination and don’t warrant preclear-

ance. Brnovich, Greater Birmingham, Feeney, and Shelby County say so. SB90 is what it always

was: a facially neutral and commonsense election law. Accordingly, this Court should

reverse the district court’s conclusions to the contrary.




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                       CERTIFICATE OF COMPLIANCE

      This brief contains 10, 758 words, excluding the parts that can be excluded. This

brief also complies with Rule 32(a)(5)-(6) because it’s prepared in a proportionally

spaced face using Microsoft Word 2016 in 14-point Garamond font.

Dated: July 11, 2022                                   /s/ Mohammad O. Jazil




                           CERTIFICATE OF SERVICE

      I e-filed this brief on ECF, which will email everyone requiring notice.

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